Case 1:15-cv-06091-ILG-VMS Document 89 Filed 02/09/18 Page 1 of 1 PageID #: 705




                            Law Office of David A. Zelman, Esq.
                                  612 Eastern Parkway
                                   Brooklyn, NY 11225
                                    ph :(718) 604-3072
                                     f :(718)604-3074
VIA ECF                                                              February 9, 2018
Hon. Vera M. Scanlon
United States Magistrate Judge
225 Cadman Plaza East
Brooklyn, NY 11201

                          Re: Ungar v. the City of New York et. al
                                        15-CV-6091
Dear Judge Scanlon:

       I represent the plaintiff, Moshe Ungar.

       The parties have made efforts to have Mr. Quito appear for a deposition.             Upon
information, the Court has previously issued a subpoena for his attendance at a deposition,
however, he did not appear and a statement was placed on the record regarding his non appearance.
Subsequently, I viewed the affidavit of service and found it to be defective.

        I attach a revised subpoena. Counsel have agreed upon the terms of the subpoena. I intend
to serve this subpoena and ensure that it is properly served.

       I ask that your Honor sign this subpoena for the deposition of this non party witness.

       Thank you for your consideration in this matter.

                                                                    Very Truly Yours:

                                                                           /S

                                                                    David Zelman, Esq.




                                                 1
